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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NAACP LEGAL DEFENSE &
 EDUCATIONAL FUND, INC.,
           Plaintiff,
                   v.                                      Civil Action No. 20-1132 (JDB)
 WILLIAM P. BARR, in his official capacity
 as Attorney General of the United States,
 et al.,
           Defendants.



                                            ORDER

          Upon consideration of [25] plaintiff’s motion for summary judgment, [33] defendants’

cross-motion to dismiss or, in the alternative, for summary judgment, [40] plaintiff’s motion to

supplement the record, and the entire record herein, and for the reasons stated in the accompanying

Memorandum Opinion, it is hereby

          ORDERED that [25] plaintiff’s motion for summary judgment is GRANTED; it is further

          ORDERED that [33] defendants’ cross-motion to dismiss or, in the alternative, for

summary judgment is DENIED; it is further

          ORDERED that [40] plaintiff’s motion to supplement the record is GRANTED; it is

further

          ORDERED that writs of mandamus hereby ISSUE to the Presidential Commission on

Law Enforcement and the Administration of Justice, and to Phil Keith and Katharine Sullivan as

officers of the Commission, in accordance with the accompanying Memorandum Opinion. The

Commission and its officers shall file a charter with the Attorney General, the relevant standing

committees of the U.S. Senate and of the U.S. House of Representatives, the Library of Congress,
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and the Committee Management Secretariat of the General Services Administration, pursuant to

5 U.S.C. app. 2 § 9(c) and 41 C.F.R. § 102-3.70(a). The Commission and its officers shall also

provide notice of any future meeting in the Federal Register at least fifteen days before the meeting

is held, pursuant to 5 U.S.C. app. 2 § 10(a)(2) and 41 C.F.R. § 102-3.150(a); it is further

       ORDERED that the Attorney General shall designate a federal officer or employee who

must be employed with the federal government either full-time or permanent part-time to be the

designated federal officer for the Commission, pursuant to 5 U.S.C. app. 2 § 10(e) and 41 C.F.R.

§ 102-3.120; it is further

       ORDERED that the parties shall submit proposed remedial orders consistent with the

accompanying Memorandum Opinion, along with any supporting briefs, not to exceed twelve

pages, by not later than October 9, 2020; that any oppositions, not to exceed eight pages, shall be

filed by not later than October 14, 2020; and that any replies, not to exceed five pages, shall be

filed by not later than October 16, 2020. Given that the Court has concluded that plaintiff is entitled

to injunctive relief requiring the Attorney General and the Department of Justice to ensure the

Commission has a fairly balanced membership, as explained in the accompanying Memorandum

Opinion, the parties’ proposed orders shall include proposals for the precise content of that

injunction, and may include proposals for any other appropriate relief, including any request for a

permanent “use injunction” as described in the accompanying Memorandum Opinion; it is further

       ORDERED that until the requirements of the Federal Advisory Committee Act (“FACA”)

have been satisfied, as explained in the accompanying Memorandum Opinion, the Commission

shall not hold further meetings, sessions, or hearings, or conduct any official business; it is further

       ORDERED that until the requirements of FACA have been satisfied, defendants shall not

submit, accept, publish, employ, or rely upon any report or recommendations produced by the
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Commission; and it is further

       ORDERED, ADJUDGED, and DECLARED that the Commission is an advisory

committee subject to the requirements of FACA and is not exempt from FACA under 2 U.S.C.

§ 1534(b); that the Commission has violated FACA by failing to file a charter with the necessary

entities, as required by 5 U.S.C. app. 2 § 9(c) and 41 C.F.R. § 102-3.70(a), and by failing to provide

timely notice of each meeting in the Federal Register, as required by 5 U.S.C. app. 2 § 10(a)(2)

and 41 C.F.R. § 102-3.150(a); and that Attorney General William P. Barr has violated FACA by

failing to select a designated federal officer for the Commission, as required by 5 U.S.C. app. 2

§ 10(e) and 41 C.F.R. § 102-3.120, and by failing to ensure the Commission’s membership is fairly

balanced in terms of the points of view represented and the functions to be performed, as required

by 5 U.S.C. app. 2 § 5(b)(2).

       SO ORDERED.




                                                                                /s/
                                                                          JOHN D. BATES
                                                                 Senior United States District Judge
Dated: October 1, 2020
